IN THE. UNITED STAFI:ES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In_ re: ) Chapter ll
TINTRI, INC.,‘ ) Case No.: 18-11625 (KJC)
) l / (
Debtor. ) Re: Docket No.: ,,W§ X*/ l

.__...-._-,-

ORDER APPR`OVING STIPULATI()N BETWEEN DEBTOR AND
303 MVRP LLC AUTHORIZING THE DEBTOR TO REJECT
REAL PR()PERTY LEASE AGREEMENT
Upon consideration ofthe Stipalation Between Deb¢‘or and 303 MVRP LLC Authorizz'ng
the Debror to Rejecz‘ Real Properry Lease Agreement (the “ tipulation”) filed by the Debtor and
303 MVRP LLC; and the Court having reviewed the Stipulation, a copy of which is attached

hereto as Exhibit A; and good cause appearing for the relief requested therein, it is hereby

ORDERED 'l`HAT:
l. The Stipulation,¢ attached hereto as Exhibit A, is approved in its entirety.
2. This Court retains jurisdiction with respect to all matters arising from or related to

the implementation or interpretation of this Order.

Dated: l §§ l , 2018 n C\V/'\v/\ § @¢l/\/\/V\
The H norable §ev n J. Carey
Unitcd tates B uptcy Judg

 

' The Debtor and the last four digits of its taxpayer identification numbers are (6973): `The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.

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